                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

      In re:

      Laurestine Hatchett,
                                                       Hon. Marci B. McIvor
                    Debtor.                            Ch. 7 Case No. 17-45163-MBM

      _________________________________/
      Homer W. McClarty, Chapter 7 Trustee,            Adv. Case No. 17-4669-MBM


      v.

      Ayanna Hatchett, Co-Conservator and Co-Guardian,
      Franklin Hatchett, Co-Conservator,
      Ayanna Hatchett, individually and,
      Franklin Hatchett, individually,

                Defendants.
      _________________________________/

 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR PARTIAL
                 SUMMARY DISPOSITION
      For all the reasons stated in the attached brief in support of this response to

Plaintiff’s Motion for Partial Summary Disposition, Defendants humbly requests

that this Honorable Court deny Plaintiff’s motion in its entirety. Further, Defendants

request a hearing in this matter to be set at this Court’s convenience.

                           Respectfully submitted,

                           By: /s/ Ayanna D. Hatchett
                           Counsel for Defendant Ayanna D. Hatchett (Pro Se)

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Dated: May 1, 2018




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                UNITED STATES BANKRUPTCY COURT
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     In re:

     Laurestine Hatchett,
                                                     Hon. Marci B. McIvor
                 Debtor.                             Ch. 7 Case No. 17-45163-MBM

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     Homer W. McClarty, Chapter 7 Trustee,           Adv. Case No. 17-4669-MBM


     v.

     Ayanna Hatchett, Co-Conservator and Co-Guardian,
     Franklin Hatchett, Co-Conservator,
     Ayanna Hatchett, individually and,
     Franklin Hatchett, individually,

               Defendants.
     _________________________________/

     BRIEF IN SUPPORT OF THE DEFENDANTS’ RESPONSE TO
    TRUSTEE’S MOTION FOR PARTIAL SUMMARY DISPOSITION


STATEMENT OF FACTS
    The defendants—Franklin Hatchett (Frank) and Ayanna Hatchett

(Ayanna)—are the children of Mrs. Laurestine Hatchett (the debtor) and

her husband—Attorney Mr. Hatchett (Mr. Hatchett).                    Mr. and Mrs.

Hatchett have shared the same household as husband and wife for almost

60 years. Mr. Hatchett is 82-years old and Mrs. Hatchett is 79-years old.


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      It became apparent to the defendants that Mrs. Hatchett’s capacity

to manage her own affairs had substantially diminished over time. Mr.

Hatchett had been and still does, take care Mrs. Hatchett. However, with

both parents getting on in years, Frank and Ayanna decided that as a

practical matter someone other than just their father should be in

position to continue caring for their mother, if anything should ever

happen to their father.

     Frank and Ayanna thus petitioned the probate court. On August

29, 2014, they petitioned to become co-conservators for their mother. On

the same date, Ayanna petitioned to share co-guardianship with her

father. Both petitions were granted by the probate court on September

17, 2014.      (Exhibit1: Probate Orders Granting Petition) Ayanna’s

Acceptance of Appointment to serve as her mother’s co-guardian and co-

conservator with her father and brother respectively were filed on

November 20, 2014. (Exhibit 2: Acceptance of Appointment-Ayanna)

Likewise, Frank’s Acceptance of Appointment to serve as co-conservator

and Mr. Hatchett’s Acceptance of Appointment to serve as co-guardian

were filed on December 19, 2014.                  (Exhibit 3: Acceptance of

Appointment—Frank and Mr. Hatchett)

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     Atty. Alan Ackerman is the creditor behind this adversarial action

Through these proceedings, the defendants have become aware of the

$840,000.00 personal loan that was made by Atty Ackerman to their

parents, Laurestine and Mr. Hatchett on or around October 30, 2006.

The loan was purportedly secured by a mortgage on their former family

residence in Bloomfield Hills Michigan at 285 W. Hickory Grove Road.

(Exhibit 4: Mortgage and Assignment) Mr. and Mrs. Hatchett raised all

three of their children in the subject Bloomfield Hills’ property, including

Frank and Ayanna. The five-bedroom, four bathroom living space totaled

approximately 4,014 square feet not including the indoor tennis court and

swimming pool.

     Of the original $840,000.000 loaned, Ackerman has recovered

$1,193,537.85 to date.       Thus, since the original principal, at least

$353,537.85 in interest has been paid to Ackerman through Mr. and Mrs.

Hatchett alone. The involuntary Chapter 7 and accompanying adversary

suits are directed toward recovering Ackerman’s additional profit as

captured by a deficiency judgment in 2016 of $368,222.14 or more.

     After Atty. Ackerman filed his foreclosure action on February 16,

2012 in Oakland County Circuit Court (Case No. 12-125013-CH) against

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land contract vendee, Angela White, Ackerman organized 285 W. Hickory

Grove, LLC and assigned his interest over to the limited liability

company for the consideration of $1.00 on or around September 10, 2013.

(Exhibit 5: Docket and Deficiency Judgment)

     The terms of the note allowed up to two 24-month periods of

interest-only payments at $3,500.00 per month. The first two years began

on December 1, 2006 and were scheduled to end on November 1, 2010 at

which time the entire principal of the loan would become due, unless the

borrower chose to extend for another 24-month period. The Borrowers—

Mr. and Mrs. Hatchett—elected to pay the last 24-month term that would

go from November 1, 2008 through to November 1, 2010. But, roughly

four to five months before the last term expired, Ackerman told them they

needed to prepare to vacate 285 W Hickory Grove Road because he had

supposedly found a purchaser—Angela White—for 285 W. Hickory Grove

under a land contract for an amount sufficient to wipe out Mr. and Mrs.

Hatchett’s remaining obligation.

     By August of 2010, Mr. and Mrs. Hatchett had moved out of the

property and made way for the new purported owner Angela White.

Hence, Mr. and Mrs. Hatchett had paid Ackerman $147,000.00 in

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interest-only payments alone between December 1, 2006 and when they

moved out in 2010.

     Approximately two years later, Ackerman declares White in default

and files a foreclosure action in 2012, naming Mrs. Hatchett as a plaintiff

along with himself.      There was a sheriff sale filed in the earlier

foreclosure action against White as well on November 20, 2012 and

eventually a judgment of deficiency that was entered.                 (Exhibit 6:

Deficiency Judgment –3-30-16)             The Judgment of Foreclosure relied

upon by the trustee here was apparently issued against Mrs. Hatchett on

October 10, 2014. (Exhibit 7: Judgment of Foreclosure).

     The subject Florida condominium that was co-owned by Frank and

his mother was sold on March 6, 2015. Ackerman filed his Proof of Claim

in Oakland County Probate Court on May 11, 2016. (Exhibit 8: Proof of

Claim).

     As the Condo property was co-owned, Franklin received roughly

half of the net proceeds; he gave the other half to his father, Mr. Hatchett

– Laurestine’s appointed co-guardian – who placed it in his law office

trust account to be used for her benefit. As noted by Franklin, his father



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had always taken care of his mother in an exemplary fashion. (Exhibit 9:

Frank’s Deposition, p. 57).

      In 2005, Debtor’s husband, Mr. Hatchett entered into an agreement

with the Internal Revenue Service regarding his tax situation. This

agreement was followed to the letter, with monthly payments and

reporting requirements, based upon a formula established by the

government. Mr. Hatchett never missed a report or payment, and clearly

had an ethical and legal obligation to report and pay these taxes. As

such, approximately $75,000 of the Condo proceeds were used to pay a

tax liability for Mr. Hatchett Hatchett’s law firm as required under the

agreement with the government. The payment of this debt insured that

the primary breadwinner – famed attorney Mr. Hatchett – would be able

to continue practicing and proverbially, “Bringing home the bacon,”

ensuring that Laurestine standard of living would not be negatively

effected:

      Q.    What did your mother receive in exchange for the
            payment of $75,000 of your father's tax liabilities?

      A.    Essentially she just maintained her standard of living.
            Without it, her standard of living would have
            diminished.



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     Q.   Couldn't she have done that with $75,000 in her own
          name?

     A.   For a short term, yes. Not long term.

     Q.   How long of a term do you think that $75,000 would have
          lasted with her expenses?

     A.   Well, from this standpoint -- let's look at it from this
          standpoint: If you put 75 back in your business, and this
          business is how you make your living, then that living is
          going to sustain you for the rest of your life. That's how I
          would look at it.

          (Exhibit 9: Frank’s Deposition, p. 72)

     The co-conservators in this matter had a legal obligation to expend

the funds as they did for the benefit of Debtor, including attempting to

salvage a standard of living for which she has become accustomed.

M.C.L. 700.5425(b) provides in relevant portion:

           (b)The conservator shall expend or distribute
           money reasonably necessary for the support,
           education, care, or benefit of the protected
           individual or a dependent with due regard to all of
           the following:

           (i) The estate size, the conservatorship's probable
           duration, and the likelihood that the protected
           individual, at some future time, may be fully able
           to be wholly self-sufficient and able to manage
           business affairs and the estate.

           (ii) The accustomed standard of living of the
           protected individual and the dependents.

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           (iii) Other money or sources used for the protected
           individual's support.

     Debtor is not improving, and indeed is declining in cognitive ability

which she has a genetic predisposition toward. There will not come a

time when she will be able to handle her own affairs, barring a miracle

cure for Alzheimer’s. However, it must be remembered that Debtor has

a certain standard of living that she has become accustomed to – as the

wife of prominent attorney Elbert Hatchett she was used to a lifestyle

that would be considered somewhat upper class. However, on her own,

she could never recreate her lifestyle. Even with the income Elbert

receives from the law office, her lifestyle has been diminished. As noted,

the Hickory Grove property where the siblings grew up was lost, and now

the senior Hatchett’s reside in Ayanna’s Bristol Park property, paying

rent and taxes when they can afford. The use of the funds for sporadic

payments on the Bristol Park property, or sporadic payments to repay

Franklin on the leased vehicle are clearly prudent, as was any use of the

proceeds of the Florida property for such matters, including continuance

of the law office which provides her proverbial daily bread.




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STANDARD OF REVIEW

       Federal Rule of Procedure 56 (a) for summary judgment is

incorporated into Federal Rules of Bankruptcy Procedure 7056.

Summary judgment is only appropriate when there is no genuine issue

of material fact and the moving party is entitled to judgment as a matter

of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S.Ct. 2505,

91 L.Ed.2d 202 (1986). " [T]he mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly

supported motion for summary judgment; the requirement is that there

be no genuine issue of material fact." Id. at 247-48. A " genuine" issue is

present " 'if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.'" Berryman v. Rieger, 150 F.3d 561, 566

(6th Cir. 1998) (quoting Anderson, 477 U.S. at 248).



ARGUMENT

  I.     The Probate Court retains exclusive jurisdiction over all matters
         concerning or related to the parties’ fiduciary powers.

       Probate court retains exclusive jurisdiction over all matters related

to a fiduciary’s powers. MCL 700.1302. This includes deciding matters

brought by or against a fiduciary. MCL 700.1303(1)(h). The basis to

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challenge a fiduciary’s management or distribution of funds the use of a

protected individual also fall within the exclusive domain of the probate

court. MCL 700.5402(b). The challenge raised by Plaintiff in this motion

for partial summary disposition solely concerns an allegation that the

defendants breached their fiduciary duties to their mother.                 Such a

challenge plainly falls within the powers contemplated when granted by

statute to the probate courts in the state of Michigan.

     Defendants finalized the accounting for Debtor’s property sale after

specifically obtaining court permission to sell the property. They followed

all of the necessary steps for such a transaction, yet the creditors who

seek to attach the proceeds of the sale were nowhere to be found during

the pendency of the guardianship proceedings at the Oakland County

Circuit Court.

     Ackerman filed a request for a Notice of Conservatorship the same

day he filed his Proof of Claim referred to Plaintiff’s statement of facts,

in the Oakland Probate Court on May 11, 2016. This notice alerted him

of all proceedings and filings made in Debtor’s conservator and guardian

files. As such, the creditor was under Notice of the existence of such

claims, but failed to seek redress at the appropriate Court.


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     MCL 700.5402 provides:

        After the service of notice in a proceeding seeking a
        conservator's appointment or other protective order and
        until the proceeding's termination, the court in which the
        petition is filed has the following jurisdiction:

        (a) Exclusive jurisdiction to determine the need for a
            conservator or other protective order until the
            proceeding is terminated.

        (b) Exclusive jurisdiction to determine how the protected
            individual's estate that is subject to the laws of this
            state is managed, expended, or distributed to or for the
            use of the protected individual or any of the protected
            individual's dependents or other claimants.

        (c) Concurrent jurisdiction to determine the validity of a
            claim against the protected individual or the protected
            individual's estate, and questions of title concerning
            estate property.


     Clearly, the Court with exclusive jurisdiction to deal with the

question of whether Debtor’s estate was being “managed, expended, or

distributed to or for the use of the protected individual or any of the

protected individual's dependents” was the Oakland County Circuit

Court. Simply put, whether Father, Son, and Daughter ran off with

Debtor’s money would have been properly decided at the Oakland County

Probate Court. They of course, did not do such a thing, but had they,

such could have been taken care of in real time by the Court with the best

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vantage point to do so – the Oakland Probate Court. Indeed, any such

nefarious activities could have been stopped before the occurred;

however, rather than availing themselves of the appropriate mechanism

of the Probate Court, they instead waited until the involuntary

bankruptcy petition to now try and retroactively assert such rights. At

the very best this is improper forum shopping, and the worst an improper

collateral attack on the prior legitimate judgment of a state court in

violation of the Rooker-Feldman Doctrine. Rooker v. Fidelity Trust Co.,

263 U.S. 413 (1923) and District of Columbia Court of Appeals v.

Feldman, 460 U.S. 462 (1983). While that doctrine has traditionally been

applied to Federal District Courts reviewing state court decisions, there

is no reason to hold that such rationale would not apply to Bankruptcy

Court attacks on prior state probate court decisions regarding the

management of a ward’s estate, especially when the Michigan statute

specifically allows for such exclusive jurisdiction.


  II.     Defendants’ “obligation” did not arise before they were appointed
          as their mother’s fiduciaries or before a Proof of Claim was filed


        MCL 700.5429 provides:



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            (1) A conservator may pay or secure from the
            estate a claim against the estate or against the
            protected individual arising before or during the
            conservatorship upon the presentation of the claim
            and allowance in accordance with the priorities in
            subsection (4).


     The defendants filed their acceptance of their respective

appointments as co-conservators and co-guardians on November 20, 2014

and December 19, 2014. Under the laws of probate, a fiduciary’s “duty”

to a creditor isn’t triggered until a Proof of Claim is filed. MCL 700.5429.

Atty. Ackerman, however, filed his purported Proof of Claim on May 11,

2016, more than a year after the subject condo was sold. In other words,

the defendants could not have breached a fiduciary duty to the trustee’s

creditor before he filed his Proof of Claim.

  III.   Mr. Hatchett, as the co-guardian and spouse of the debtor, was
         a fiduciary and thus defendants were legally entitled to entrust
         the debtor’s funds to him.

  The Trustee makes great efforts to point out that Frank Hatchett did

not have any issue in transferring the funds to Mr. Hatchett for the care

of Debtor – his wife whom he took care of on a daily basis – nor would

Defendant Ayanna Hatchett been concerned if she had known of the

transfer.   However, apart from the common-sense aspect of having


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Debtor’s husband manage the day to day needs of his own wife of 60-plus

years, the Trustee’s argument neglects to address that Mr. Hatchett was

a co-guardian to his wife, the debtor, and thus no liability is incurred

from a grant of custody between fiduciaries for the same protected

individual.

     It must be remembered that, while the defendants’ powers were

briefly suspended, it was not due to any concern over the abilities or

veracity of the conservator, but rather a procedural suspension due to

late filing of the accounting pursuant to MCL 700.5418.

     MCL 700.1104(e) provides, "Fiduciary" includes, but is not limited

to, a personal representative, funeral representative, guardian,

conservator, trustee, plenary guardian, partial guardian, and successor

fiduciary.” (emphasis added) As Mr. Hatchett was a fiduciary to his wife

as a co-guardian, Defendants were well within their abilities and duties

to entrust him, as a fiduciary for Debtor, with the funds. There was no

reason to expect that anything nefarious would happen to those funds –

and indeed, nothing nefarious did. Regardless, plaintiff simply has no

claim against Frank and Ayanna Hatchett, as they properly relied on a

fiduciary for Debtor, their own father, a well-respected attorney, who has


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loved, cherished, and cared for his wife for the last 60 years – a course of

action that did not change one scintilla with the events at issue.

     Regardless of the fact that the entrusting of the funds with Mr.

Hatchett made both common sense and passed legal muster, MCL

700.5318 allows individuals to deal with such guardians without regard

of the proper allocation of such assets, and to assume that such will occur:

          If a third person is dealing with a guardian or is
          assisting a guardian in the conduct of a
          transaction, the third person may assume the
          existence of trust powers and their proper exercise
          by the guardian without inquiry. The third person
          is not bound to inquire whether the guardian may
          act or is properly exercising the power. Unless the
          third person has actual knowledge that the
          guardian is exceeding the guardian's powers or
          improperly exercising them, a third person is fully
          protected in dealing with the guardian as if the
          guardian possessed and properly exercised the
          powers the guardian purports to exercise. A third
          person is not bound to assume the proper
          application of estate assets paid or delivered to the
          guardian. This section does not apply to a third
          person dealing with a limited guardian.
     Thus, even if Defendants had thrown caution to the wind, they were

allowed to assume that a fiduciary such as their father, Mr. Hatchett,

would properly allocate and disperse such proceeds for Debtors benefit –

and he did just that. The transfer of the debtor’s share of the proceeds



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from the sale of the condo to the debtor’s husband and co-guardian can’t

be seen as a breach of fiduciary duty.


  IV.      No Breach of Duty in Using the Proceeds from the Florida
          Property for Mr. Hatchett’s Tax Liability or for using the funds
          for debtor’s living expenses for her accustomed standard of living


     M.C.L. § 700.1212. Fiduciary relationship, provides:

            (1) A fiduciary stands in a position of confidence
            and trust with respect to each heir, devisee,
            beneficiary, protected individual, or ward for
            whom the person is a fiduciary. A fiduciary shall
            observe the standard of care described in section
            7803 and shall discharge all of the duties and
            obligations of a confidential and fiduciary
            relationship, including the duties of undivided
            loyalty; impartiality between heirs, devisees, and
            beneficiaries; care and prudence in actions; and
            segregation of assets held in the fiduciary capacity.
            With respect to investments, a fiduciary shall
            conform to the Michigan prudent investor rule.

     The Michigan prudent investor rule is embodied in MCL 700.1501

et seq.   MCL 700.1502 provides that "[a] fiduciary shall invest and

manage assets held in a fiduciary capacity as a prudent investor would[.]

Compliance with the prudent investor rule is determined in light of the

facts and circumstances that exist at the time of a fiduciary's decision or

action, . . . not by hindsight[, ] [and] [t]he prudent investor rule requires


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a standard of conduct, not outcome or performance." MCL 700.1509

(emphasis added). “To be prudent includes acting with care, diligence,

integrity, fidelity and sound business judgment." Matter of Green

Charitable Trust, 172 Mich. App. at 313.

      In the instant case, all of the Debtor’s income is derived from her

husband’s law practice. She is incapable of working herself, and the only

way that she can continue in even a fraction of her current lifestyle is if

Elbert Hatchett’s employer – i.e. the law firm – is afloat. At Elbert’s stage

of life, there is little hope that could be engaged by a firm or otherwise

obtain the amount of income that the Debtor requires to maintain her

standard of living.

     As noted by the Trustee, approximately $33,000 was used for the

Debtor’s living expenses. Such an amount is not unreasonable, nor is it

indicative of the life of one living “high off the hog.” At that level, had

the Debtor simply used the $75,000 to pay living expenses, she would be

destitute in a little over two years. However, the payment of the taxes

pursuant to the 2005 agreement with the government assures that what

little capital Debtor has will be maximized and should continue well

beyond the two-and-a-half years suggested by the Trustee.


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      It is clear that the Trustee will not be paying Debtor’s bills after

the $75,000 ran out; it is Elbert Hatchett and the income derived from

his law firm that will continue to fund Debtor, and without this source of

income, there will be only the taxpayer left to support her. While this

ongoing responsibility pursuant to government agreement since 2005

may not be a de jure liability of Debtor, but is a de facto necessary expense

of the Debtor. Without strict compliance with the agreement, the law

firm would not exist, and Debtor would have become a ward of the state

a decade ago. The reality is that Debtor relies upon the continuing

operation of the law firm for her very survival.

     It must be noted that the reporting requirements regarding Elbert

Hatchett’s income are very draconian, and yet he has not missed a single

payment or reporting. The government has been satisfied with his efforts

and veracity over the last thirteen years, and over a million dollars of

taxes have flowed through to the IRS as part of this agreement.

      There is simply no reason for Elbert to “run off” with any of

Debtor’s funds – as noted, they have to be used for Debtor’s continued

existence as part of this married couples home life. Indeed, it would be

almost impossible to do so and not run afoul of the government’s


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reporting requirements.      While only the agreement setting out the

parameters is attached to this motion, copies of the reports can be

provided to the Court under appropriate seal and protective order as

every client of the firm and the respective funds and expenses are noted

in the reports and subject to attorney/client privilege. If the court allows

such protection for these documents or allows a simple in camera

inspection that would protect the interests of the law firm’s clients, it

would be shown that there is no discrepancy between Elbert’s income and

the amounts allegedly absconded with – it simply did not happen.

      While there are apparently no records of Debtor’s “personal

expenses” of approximately $33,000, there was no requirement to keep

every receipt for groceries, gas, McDonalds, etc for the probate court. The

$33,000 figure could easily be amassed for personal expenses by almost

anyone. Debtor was allowed to choose her personal reasonable likes and

dislikes, and her husband gave her access to do so as part of her everyday

living. There is no indication this was improper, frivolous, or that Elbert

spent the money on himself. His children, the Co-conservators, properly

and correctly relied on their father – Debtor’s husband of several decades

– to tend to day to day activities in a reasonable and prudent manner –


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which he did. There is no evidence that he did not – just the Trustee’s

bare assertions. The Conservators did not violate their fiduciary duty.

     Even if allowing Elbert to run the day to day expenses of the Debtor

was procedurally improper – which it was not – it would still not require

the replacement of the funds by the conservators as the end outcome of

the payment of the funds back to the Trustee. The funds were used for

the benefit of the Debtor, administered by a faithful husband, and she

received the benefit. There are no alleged improper expenditures, such

as Vegas trips, Casino bills, sports car purchases etc. – all the Trustee

alleges is that because Debtor does not have a receipt for every pack of

gum that was purchased for Debtor, there must be a nefarious use of the

funds. However, bare assertions cannot create a material fact for which

documentary evidence need be used to rebuff.               All that such bald

allegations do is create a question of fact. Without question, Debtor, her

husband, and her children will testify that these expenditures were solely

for personal living expenses of the Debtor. Thus, a material question of

fact exists for determination by this Court at trial – the case is simply not

one for summary judgment.




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     The $15,000 debt repayment issue is also a proper expense. There

is no requirement that a debt be in writing; oral loan contracts are just

as binding as the most eloquently drafted agreement. The statute of

frauds, MCL 440.2201, does not require a loan to be in writing.


                             RELIEF REQUESTED

     WHEREFORE, Defendants respectfully request this honorable

Court DENY Plaintiff’s motion in its entirety.



                        Respectfully submitted,

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